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5    Attorney for Debtor,
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6

7
                                 UNITED STATES BANKRUPTCY COURT
8
                                 NORTHERN DISTRICT OF CALIFORNIA
9
     In re                                            Case No.: 17-42867
10

11
     DAVID F. GUERRERO,                               Chapter 13

12                  Debtor                            STIPULATION TO EXTEND TIME TO
                                                      COMPLETE THE MORTGAGE
13                                                    MODIFICATION MEDIATION
                                                      PROGRAM
14

15
     TO LOANDEPOT.COM, LLC; THE HONORABLE JUDGE WILLIAM J. LAFFERTY III,
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     UNITED STATES BANKRUPTCY COURT JUDGE; THE CREDITORS; THE
17
     CREDITORS' COUNSEL; CHAPTER 13 TRUSTEE; AND OTHER INTERESTED
18
     PARTIES:
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             This stipulation (“Stipulation”) is entered into by the undersigned counsel for secured
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     creditor loanDepot.com, LLC (“loanDepot”) and the undersigned counsel for debtor David F.
21
     Guerrero (“Debtor”). Collectively Wells Fargo and the Debtor shall be referred to as the “Parties.”
22

23                                                RECITALS
24           WHEREAS on November 15, 2017, Debtor filed the above-captioned chapter 13 bankruptcy
25   case;
26           WHEREAS on December 6, 2017, this Court entered an order referring the Parties to the
27   Mortgage Modification Mediation program (“MMM”);
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1           WHEREAS paragraph 9.B of this Court’s MMM procedures provides that the MMM must

2    be completed within 150 days of entry of the order referring the Parties to the MMM;

3           WHEREAS on May 5, 2018 was the 150th day after this Court referred the Parties to the

4    MMM;

5           WHEREAS paragraph 9.B of this Court’s MMM procedures also provides that the 150-day

6    completion limit may be extended by written stipulation of the parties;

7           WHEREAS on April 3, 2018 David F. Guerrero, the debtor in this case (“Debtor”) accepted

8    loanDepot’s offer of a trial loan modification (“Agreement”);

9           WHEREAS Debtor has made all of his chapter 13 plan payments (“Payments”) on time and

10   in full since the Agreement, including the Payments that would fund all of the Agreement’s

11   payments;

12          WHEREAS loanDepot had asked Debtor’s attorney (“Attorney”) to have Debtor execute and

13   return a document (“Document”) pursuant to the Agreement;

14          WHEREAS there was a serious misunderstanding regarding the Document;

15          WHEREAS Debtor thus failed to execute and return the Document;

16          WHEREAS due to Debtor’s failure to return the executed Document, loanDepot denied

17   Debtor a permanent loan modification;

18          WHEREAS the Parties desire to complete the MMM process;
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1
                                           AGREEMENT
2
           FOR ADEQUATE CONSIDERATION, THE SUFFICIENCY OF WHICH IS
3
     ACKNOWLEDGED, AND FOR GOOD CAUSE, THE PARTIES STIPULATE AS FOLLOWS:
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           The 150-day completion limit provided in paragraph 9.B this Court’s MMM procedures shall
5
     be extended to December 14, 2018.
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7
           IT IS SO STIPULATED.
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11   DATED: __7/17/18__                        By: /s/ Kristin A. Zilberstein_
                                                    KRISTIN A. ZILBERSTEIN
12                                                  LAW OFFICES OF MICHELLE GHIDOTTI
                                                    Attorneys for
13                                                  loanDepot.com, LLC
14

15
     DATED: July 17, 2018                      LAW OFFICE OF JEFF D. HOFFMAN
16

17

18
                                               By: /s/ Jeff Hoffman____
                                                    JEFF D. HOFFMAN
19                                                  Attorney for Debtor
                                                    DAVID F. GUERRERO
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